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                    IN 'I'H t U N ITED STATES o lsTRlcT CO URT FO R THE
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                                                D ated:Septem ber 12,2022
   U N ITED STA TES O F AM ERIC A ,

                                                JURY TIUALDEM AN DED
                                    Defendant

     M O VA NT-IN TERV EN O R (PRO SEI-R M K .PA TEL'S A M EN DED REPLY TO
                D EFEN D AN T'S RESPON SE AT D K T,48 O R RESPON SE TO
                           D/FCNDANT'SM OTION XT DKT.69
        1,T.E.,T.E IIAJK.PATEL,the undersigned m ovant-intervenorpro s% in the above-
  nam ed case,w ith a pending m otion atD kt.36,hereby subm itthisam ended reply to D e-
  fendant-u nited StatesofAm erica'sResponseatD kt.48,w ltichisw ritten to bean addidon

  to Dkt.60 (duplicate filing atDkt.61),orasmy responseto Defendant'sM odon atDkt.
  69.L.R.7.1(c)(2)(10pages,gontand back).
        W HEREAR,''AttomeyGeneralBrewsterexplainedmoTeth> acentury ago,'gilhere
  arehvo kindsofoffidalterzns'...onekind of'term 'refeTsto aperiod ofpersonalservice.
  In thatcmsez'the term is appurtenantto the person'...A nother kind of 'term 'refers to

  aflxedslotoftimetowhichindividualappointeesareassir ed.---
                                                           lhere,'thepersonisap-
  purtenantto theterm '...In otherw ords,a 'term ofoG ce'can eitherrlzn w 1t11the person

  orM tIZthecalendar/'United Statesv.W ilson,290F.3d M 7,353(D.C.Cir.2002)(quoting
  Comm'rsoftheDisf.ofColumbia,170p.At/yGen.@ 6,476-79(1882))9and,
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        W HEREAR,the Suprem eCou/ hasem phasized thatprivilege claim q,''m ustbecon-

  sidered inlightofottrbistoriccomm ie enttotheruleoflaw''and ''ltlheneedtodevelop
  allrelevantfac'tsin theadversary system z''Nixon,418U.S.at708-09& Dkt.69at% and,
        W I- EAS,''Iiln the performance ofassigned consdhttionalduties,(Executive
  branchlofthe Governm entm ustinidally interpretthe Consdtudon,and...-fhe Presi-
  denrscotm sel,msw e have noted,readsthe Corusdtution msproviding an absolute privi-
  lege ofconfidendality fora11Presidendalcomm lanicatiotw ''Nixon,418 U.S.at703% 28
  U.S.C.j516,& seegenerallyD avid A.Skauss,''PresidendalInterpretadon oftheConsd-
  tudon/'15CardozoL.Rev.113,113-135(1993)1;and,
        W I-IEREAG,in otherw ords,''execudve branch m ustinterpretthe Consdtudon be-
  foreitcan deddew hatto dow''seegenerally Strauss,15 Cardozo L.Rev.at113-1359and,

        W I.IEItEAs,theSupremeCourthas''rejectledltheargumentthatonlyan incllmbent
  Presidentmayassert''separadon-of-powersclaimq,Nixonv.Adm'rofGcn.Servs.,43317.5.
  425,439 (1977);and,
        W HEREAG,there is an internalseparadon ofpow ers on interpredng the Consdtu-
  don w ithin theExecudve Branch;and,
        W HEREAR,privilege and im m tm ides m ay be used to sustain separadon ofpow ers

  inside branchesofgovernm entand ac ossgovernm entstm derthe United StatesConsd-
  tudon;and,

        W HEREAS,theUnited StatesD epar% entofStateisresponsibleforinterpreting and

  elaboraM gon thePrivilegesand Im mlm idesClause,U.S.const.ax't.lV,@ 2;




        1.David A .Skauss,''PresiderdalIntezw etation ofthe Consdttzdoa ''15 Cardozo L.Rev.113,113-
  135 (1993), https://chcagoc bound.uA cago.edu/cp'/dewcontent.cp'?referer=&h% sreo =l&ard-
  cleceoo6&contextcjotu'
                       nalartidesipresidendal.
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  %




         W HEREAG,theUnited StatesD eparfm entofState show sitselaboradon on the Priv-
  ileges and Im m llnides Clause in the United States Order ofPrecedence by the Office of

  the Chief of Protocol,h% s:/pwww .state.gov/o -content/uploads/zor /oz/uN ted-
  States-order-of-precedence-Feb- e -zozz.pdf(revised Feb.11,2022)& U.S.corust.art.
  W ,b2;and,
         W HEREAS,theUnited StatesDeparhnentofJusdce,the Attom ey General,orU.S.
  Atlom ey Juan Gonzales,did notfollow theUnited StatesOrderofPrecedence duly es-
  tablished by the Office oftheChiefofProtocol,1#.;and,
         W HEREAG,the incnm bentPresidentoftheU nited Stateshassupported theU nited
  StatesOrderofPrecedencehoused by theU nited StatesDepnrfm entofState Office ofthe
  ChiefofProtocol,w hich show sthatform erPresidentTrllm p outrnnkqincllm bentA ttor-

  ney GeneralM erric.k Garland,Id.& 3U .S.C.55301etseq.;and,
         W HEREAS,thus,the United States Depare entofState and the United StatesD e-

  parM entofJusdceareadversariesin otlrsystem ofruleoflaw,in orderto Geateasepa-
  radon ofpowersandchecksandbalance,butcf.DoetrineofComitp U.S.const.art.lV,j
  2,& 28U.S.C.j5169and,
         W HEREAS,the incllm bentPresidentofthe United Stateshasnotcleared,norm ay

  ratify unconstim tionalactsto makethem constitutional/breach ofprotocol;and,
         W HEREAS,the execudve D eparM ents and its H eads have been c eated and ap-

  pointed by the President,w 1).
                               11adviceand consent9om the Senate,Freytag v.Com m 'r,501



          2.Underthecom mon law,theincum bentKing m ay changeprotocolat-willagainsta form er
  H ead ofState orapreceding M onarch;thosevested powersareembedded in theUnited StatesCorkstitu-
  don and rem ain constantUIZEIlaw fully am ended.Besides,asthecom plaintand Attom ey General'sM er-
  rick Garland'spublic,apolitical,and legalcomm entsshow,currently,only aunitofan Execudvebranch
  hasacted,Le.theDepartmentofJustice-F.B.l.rrathert11= theExecudvebranc.
                                                                       h aswhole.Dkt.1at10.To
  no surprise,even againstaform erpresident,m orderto legally condidon the peacefultrarlsition of
  pow er,the Execudvepow erismuch w eakerth= ofa com m on law King's. United Statesv.Providence
  Jolfr- !Co.,485U.S.693,701(1988)(moreth= one''UnitedStates''is''startling''l.

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  U.S.868,886,917(1991)(discussingHeadsand prindpalofscersoftheexecudvedepart-
  m ents);and,
        W HU EAS,theExecudveBranch's''interpretadon ofitsIown)powers...isduegreat
  respec'tfrom the othersz''Nixon,418U .S.at703-49and,

        W HFREAS,,'(a11)powersof1aw enforcement...areassigned underourConsdtudon
  totheExecudveand theJudidarp''Quinnv.United States,349U.S.155,161(1955).
        THEREFORE,only alznitoftheExecutiveBranch,thecurrentA ttom ey General,has
  broughtchargesagainstform erPresidentTrum p in violation oftheinter-w orkingsofthe
  execudvebranch protocol,ordered by theincum bentPresidentBiden,ashoused by Pres-

  identBiden's subordinates,w ho are also eitherthe Atlom ey General's superiors or co-

  equalsonthesubject-matter,intheUrtitedStatesDeparM entofState.
        FURTHERM ORE,thePresident,the courts,ortheExecudveBranch cnnnotm ute dis-
  tincdonsofoffice,person,state,and governm ent,asthey are an elaboradon oftheUnited
  States Constitudon Privileges and lm m tm ides Clause,w hich lays outthe s% cture and
 lanesofenforcem ent.

        W HEREAR,in orderforafederaldiskictcourtof1aw tohavepersonaljurisdicdon,
 underFed.R.Civ.12(b)(2),kaditionalnodorusof''naturaljusdce,''''fairplap''and ''sub-
  standaljustice''mustatalltimenotbeviolated,M cDonaldv.M abee,243U.S.90,92(1917),
 JointAnti-FascistComm.v.M cGrath,341U .S.123,123 (1951),Breithauptr.Abram,352U.S.
 432,435(1957)(shock theconscience,iraditionalnodonsoffairplay and decencp indida
 ofnotapeacefultrnnsidon ofpowercaused by Defendant-Dolisavioladon ofthecon-
 sdence),Gonzalesv.United States,348U.S.407,412 (1955)Cunderlying conceptsofpro-
 ceduralregularity and basicfairplay''),Int'1ShoeCo.p.W ashington,326U .S.310,324 &
 326 (1945),UnitedStatesv.Lovasco,431U.S.783,796(1977)(dueprocessembodies''fun-
 damentalconcepdonsofjusdce''and ''the commllnity'ssenseoffairplay and decencf')
Case 9:22-cv-81294-AMC Document 87 Entered on FLSD Docket 09/13/2022 Page 5 of 17




  (seeFederalist77,United Statesasacommllnity),Cnty.ofSacramentov.Lczzzis,523U.S.
  833,847(1998)(consdence-shoddngbehavioris''so 'brutal'and 'offensive'thatit(doesl
  notcom portw1t11kadidonalideasoffairplay and decency.'')(abuseofexecutivepow er)
  (decencies of''civilized conductz''epitom ized in U.S.const.al't.lV,j 2)(bow ing and
  curtsy am ongstand to stateactorsortheeffec'tin ou.
                                                    rcom mllnity),& Sessionsv.Dimaya,
  138S.Ct.1204,1212(2018)(requiredbyboth ''ordinarynodonsoffairplayand thesettled
  rulesoflaw.'');nnd,
        W HEREAS,tradidonalnotionsofnaturaljusdcestatesaformerT.H.(T.E.)President
  oftheUnited States(T.E.PresidentoftheUnited Statesforalldocumentsforeign affairs),
  from theNaturalState,ismorefitth> the currentcolzrt(judgeand Defendant)and the
  N aturalO rder dem andsthatthe incum bentA ttom ey Generalyield to pressing charges
  againstPlaintiff,otlrform erH ead ofState,seeU nited StatesO rderofPrecedence-united

  StatesDep'tofState-ofSceoftheChiefofProtocol,U.S.const.art.IW j2,& Dkt.60at2,
  5,5 n.3,& 7;and,

        W T- TIAS,kaditionalnodorusofbmsicfairplay and substandaljusdcehavebeen
  violated,seee.g.Obergefellv.Hodges,576U.S.644,742(2015)(harsh treatmentisnotfair
  play)(gaysand lesbianshavebeen denied theNaturalOrder,pursuanttotheirachieve-
  m entsin dvilsodetp as the w ealtbiestcom m llnitp pnrticularly,gay m en,in the United
  States;the sam e illnesshas entered state and governm entalinsdtudons,prevene g the

  NaturalOrder,including in governingtheDefendant'sdecisions)(Plaintiffhasbeen de-
 nied rightflllplace in the afterm ath ofhis honor's incum bency as President ofU nited

  Statesp & Pet.forW ritofCext *58-9,Patelv.United States,No.22-5280(U.S.202-)9and,




        3.https:/ye c-prod-requests.s3-us-west-z.a azonaw s.com /W age-Gap-AppO o .pdf.

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        W T- EAS,even w 1t11explidtirtform ed consentthe Plaintiffcannotavailhim self
  before thiscoM becausehisavailm entcannotovercom ethevioladon traditionalnodons

  offairplap naturaljusdce,and substandaljusdceasapplied tothecotzrtandanypossible
  ruling by tlziscotlrt,U.S.const.art.lV,j 2& seealsoUnited StatesOrderofPrecedence-
  United StatesDep'tofState-o ffice ofthe ChiefofProtocol;and,

        W T- EAR,thkscourtcannotattach personaljurisdidion to thePlaino asitwottld
  violate the traditionalnotions offairplay,nahtraljusdce,and substantialjustice,and,
  thus,itsopinion w otlld only be advisory;and,
        W HEREAG,in addidon,thecorollary to Plaintiff'sform erPresidendalprivilege,im -

  mllnitp isthecouTt'slimitedjudidalreview,Federalist78,U.S.const.art.1V,j2,az't.IEI
  (originalintent),& nm end.V.M arburyv.M adison,5U.S.137(1803).
        THEREFORE,tltisCottrtshottld dism isssuasw afclm derFed.R.Civ.P.12(b)(2),as
  the Cotlrtdoesnothavepersonaljurisdidion forPlaintiff,orFed.R.Civ.P.12(b)(6),for
  failttre to statea clnim upon which reliefcanbe g'
                                                   ranted,msthereksnoenforcem entm ech-
  anism to require the Plaintiff,the form erH ead ofState and form erPresident,w ho isalso
  Privileged,perthe N aturalState,and islm m une,perthe N aturalState too;the desden-
  descan only be cured by new cltargesbroughtdirectly by the incllm bentPresident,by
  hisow n counselop rathert14= the inmlm bentAttom ey General.

        FURTHERMORE,thenodonsofnaturaljustke,fairplay,and substandaljusdcebut-
  tresscastle doctrine,asgenerally applied,and Plaindff'scastle can tm iquelp along w 1t11
  the pastPresidents,can w ithstand allforces except those directly and consdtudonally
  com m anded by theinclzm bentPresident,e.g.United StatesSecretServiceorUnited States
  Arm ed and SpaceForce. SeeD kt.60 at2,5,5 n.3,& 7.
        UNDER FED.R.Clv.P.Z4,Ihave acom m on quesfon of1aw orfactorinterestin the
  transacdon because a favorable ruling to theD efendantcan violatem y Excellendes,the
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  style/titles,and my career and statesm anship by extension oftlaisnlling am ongst1i-
  certsed G ovem m entalactors,local,state,federal,and intem adonal,w ho m ightsym pa-
  tlaizew 1t14thisCourtunconsdtutionally.
         W HEREAS,the Suprem e Courthasheld thata form erPresidentm ay notsuccess-
  hllly assertexecudve privilege againstreview by ''the very Execudve Branch in whose

  nam etheprivilegeisinvoked/'Nixon,433U.S.at447-48 & Dkt69at8;4and,
         W HEREAS,execudve Privilege and execudve lm m tm ity are collieries,butdistinct

  concepts,U.S.const.art.IV j2 & nmend.XIV,j1,c1.29and,
         W HEREAS,asserdng onenecessarily im putesthe asseo on ofthe other,1#.9and,
         W HEREAG,form erU nited StatesPresidentTnlm p m ay assertexecudve Im m unity

  from U rtited StatesG overnm entalforce w hich isnottm derthe com m and ofthe incllm -
  bentUnited StatesPresident,Id.;and,

         W HFRKAS,in thehappeningsrelated to N ixon,433U .S.at425,incum bentPresident

  GeraldFordwasinHmatelyinvolvedinprosecudngformerPresidentNhon,Id.& cf.Dkt.
  1 at10;nnd,

         W HU EAS,here,as llnlike in the happeningsrelated to Nixon,433 U .S.at425,the
  incum bent President is not inHm ately involved againqt the prosecudon of President

  Biden,PHH & m.r.ConsumerFinancialProtecnonBureau,839F.3d ls12-13(D.C.Cir.2016)
  (M adiqonian presidendalcontrol),seeM organ v.UnitedStates,304U .S.1,22(1938)(hold-
  ing thatitks''notthefunction ofthe courtto probe thementalprocessesofthe IExecw
  t1vel''),and Dkt.1at10;and,



         4.An F.B.I.cannotdaim execudvePrivilegeagainsttheincllmbentAtlorney General,butafor-
  merPresidentcan dnim execudvePrivilege(i.e.PresidendalPrivile<e)againstthejncllmbentAttorney
  General.RespedivelyrtheindependentconceptofexecudveTm mum ty applies,which favorstheform er
  Presidentagainqtthem cttm bentAttom ey Genel'
                                              al.


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        W HEREAS,here,the topics ofdoclAm ents are related to foreign policp lznlike in
  N ixon,433 U .S.at425,w here,thedocum entsw ererelated to dom esdcpolicy;and,

        W HFIZEAG,m orespedfkallyand m aterially,aform erPresident/l-lead ofStateout-
  rnnksthe incllm bentAttom ey Generalin foreign relationsand diplom adcm atter,wltich
  areexclusively reserved forthe President'srecognidon,seeg- emlly ProvidenceJournal,
  485U.S.at701(m oreth> one''United States''is''startlingvl;and,
        W HEREAS,the incllm bentPresident,the U nited StatesO rder ofPrecedence duly
  established by the O ffice ofthe ChiefofProtocol,and thePresidentialRecordsActshow
  thatthe form erpresidentscarry on offidaldudes,w ltich com e w 1t14 om nipresentprivi-
  leges and im m lznides,w hich are absolute except at againqt an incum bent President,

  Nixon,418U.S.at703-4& Scheuerv.RhtWes,416U .S.232,239,241,244,& 248,(1974)9and,
        W HEREM ,the ConsdtutionalpowerofexecudvePrivilege and/orexecudve1m-
  m llnity ofa form erPresident,thus,m ay belaw flllly asserted againsttheincllm bentDe-

  parM entofJusdce,U.S.corust.art.1V,5 2 & nm end.XIV,j 1,d.2,M urray v.Bush,N o.
  06-C-0781*1(E.D.W is.Aug.31,2006)(''whethertheacdon isfrivolousorm alicious,or
  seeksrelieffrom animmunepcrjp,orfailstostateaclnim onwhic.hreliefmaybegranted.''l
  (italicsadded)(intel'naldtadonsomitled);cf.28 U.S.C.5 1915(e)(2)(B)(iii);Williamsv.
  Holmes,No.1:17-cv-00799-KOB*1(N.D.Ala.Sep.5,2017:M alcolm v.CifyofM iami,No.
 22-a -20499-K1NG/D            *2,4,& 6(S.D.Fla.M ar.7,2022);& Listerv.Dl 'fofTreas-
  Jfng,408F.3d 1309(101 Cir.2005/ and,
        W TTEREAS,thePlaintiffcan law fully possessthe disputed United Statesrecords,44

 U .S.C.j22029and,
        W HEREAR,theFed.R.Civ.P.8(c)(1)allow fortheaffirm advedefensesofillegality
  (Defendant'splay in obtaining PresidèntialRecords),licertse (U.S.const.art.lV,j 2),
 laches(Defendantshould haveacted quickeriftruly suspidousofnadonalsecurity),or

                                           9
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  tm dean hands(Defendantshould haveinvolved theincllmbentPresidentoftheUrtited
  States);and,
        W Ha EAS,this Courtisin Com ity w ith both Plaintiffand Defendant,and hasthe

  privilegeofserving each partyinhis/her/theirindividualcapadtp DocfrineofCom itp
  U.S.coztst.art.1V,52.
        THEREFOREZthePlaino isim m tm e 9om prosecudon 9om theD efendant,and the
  Courtshould refazrn allrecordsto plaintiff,PresidentTrnm p,and ordercharges against
  TheH onorableGarland forconversion,''keason''/''waF'/''attack#''and rebellion orin-
  surrection.U .S.const.art.HI,j3918U.S.C.923819& ProvidenceJournal,485U.S.at701.
        FURTHERM ORE,tm dertheConsdtudonalSdion,w hich statts,ata m inim lzm ,w 1t11

  the corporate chaAersm endoned in the Declaradon oflndependence (1776),the local,
  excellent corporations and other localauthorideshave devolved pow er to the Federal
  Sovereiga m uc.h m ore th> the SisterStateshave to the FederalSovereign;thus,the in-
  terestin the àanqaction is a chec.k on the Devolved Sovereigntp Faithfully ordered by

  m e,theintervenor,and asataxpayer.U.S.const.art.1% jj I-2& art.W ,519Federalist
  78;& 42U.S.C.j52000bb etseq.SeealsoW hiteHouseOfficeoflntergovernm entalAffairs,
  https://ww w.whitehouse.gov/iga/.
        W HFREAG,barring subordinate Executive Branch from review ing and using the
  classified records for crim inalinvesdgates purposes is a m eaningfulw ay ofprotecfing
  ''theconfidendality ofPresidentialcom m unicadonsz''N ixon,418U .S.at705 & contra.D kt.



  69 at10;and,

        W HEREAS,theTeasonsPresidentsorthecou- allow independentpersonnelacross
  the Intelligence Com m tm ity to review the very sam e records for other dosely related

  purposesbutnotthe rem ainder ofthe Execudve Branch do nothave to be revealed in
  orderto protectthe cordidendality ofPresidendalRecords,N ixon,418U .S.at705;and,

                                            10
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        W HEREAS,tedm ocrats are the persorm elacross the Intelligence Com m tm ity w ho

  usually receivetheserecordsand whosenarrow objedivesarepredsely codified,llnlike
  in the not-independentExecudve Branc.h w ere pardsans,party m em bers,form erm em -
  bers ofCongress,and bureaucratsw ho are accountable to varying interests,such asfor-
  eign H eads of State and inter-governm ental orgnnizadons and those hierarchies, are
  likely to receive and beexposed these records;and,

        W HEREAS,an afh'rm ance ofthe defaultprotecdonistrule ofPresidendalRecords

  willallow theRepublictorem ain Oneandintact,Nixon,418U.S.at705,Providencelournal,
  485 U .S.at701,N ixon,433 U .S.at447-9,& H ein v.H eedom H om Religion Found.,lnc.,551

  U.S.587(2007)(Rather,theyw ere''created entirelyw ithintheexecudvebranch...byPres-
  idendalexecudve order.''(quoting Freedom H om Religion Found.,Inc.v.Chao,433 F.3d
  989,997 (7th Cir.2006)/ and,
        W HEREAG,theDeparkmentofJusdceisnotanindependentagencyoftheExecudve
  Branch;ands
        W HEREAS,here,the ''trial''is ofa form erPresident,which w asnotinidated by the
  incllm bentPresident;and,

        W HEREAS,theenforcem entofN ixon,418U .S.at705isdifferentduetothe advance-
  m entoftechnology;and,

        'rlvlte oltE,preventing theUnited StatesDepartmentofJusdce from gaining ac-
  cessto them aterialPresidendalRecordsislaw ful,asw ellasthe appoinM entofthe spe-
  cialm aster,butthePresidendalRecordsareproperly rettuned to PresidentTrum p atthe

  eadiest convenience;ifnot,atleast a copy of allrecords,as the Plaintiffm nintnins his
  preslam pdon ofcorrectnessIm IiIproven otherwise.
        FURTHERM ORE,ihiskansaction could extentto localgovem m ents,asetofD evolv-

  ersofSovereigntp and inserfereM t.
                                   IAlocaljurisdidions'recordkeepingpradicesand the
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  privilegesand immllnitiesoftheiTagents,including when thosejurisdidionswerede-
  m arcated in anotherstate.
         W HVREAS,Dkt.69 at10-11 eqttivocates abouttheExecudve Branclwgenerally w 1t11

  themorespecificterminologiesofexecudvePrivilegesand/orIm m llnidesapplied tothe
  Execudve Branch-incum bent-presidentand Execudve Branch-form er-president;and,
         W HEREAS,Defendantisunpersuasively arguing,thatin addidon to its kespmss to
  a form er President's castle, its Governm ental llnit's needs are of m ore national im -
  portance th= the statusquo established by the Executive Brandwincum bent-president,
  w hich doesnptdiscrim inateagninsttheExecudveBrD G -fo= er-president-ple e f,and
  m adepublicly availablethrough theUnited StatesDeparfm entofState-o G ceofthe Chief

  ofProtocol(whethertheExecudveBrD G -G nlmbent-Auom ey-Generi isastateac'toror
  a governmental actor is irrelevant due to the order of precedence and the Executive
  Branch-incllm bent-president's establisbm ent ofthe nadonalsecurity agenda;nonethe-

  less,thesedistinctioruscannotbem uted),Egan,484U.S.at5279seealso,e.g.,M urphy,769
  Fed.Appx.at792 (''The authority to protectnadonalsemlrity inform adon falls on the
  PresidentIdirectlyl.-l,& Dkt.69at13;and,
         W HEREAS,the Presidentis an agent,in the term s ofthe PresidendalRecordsA d

  and Federalist78;and,
         W HEREAS,the courtsmustProtectthePresidentfrom aggression from llninown
  som cesw itltin Exectltlve Branclu w hich concllrrently politically azusw erto varying inter-
  ests,Dkt.69 at18 quoting Egan,484 U .S.at5299and,

         W HEREAS,the courtsm ustbe sensidve to the inter-w orkings and inter-politicsof
  the execudvebrandx




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          W HbHmAsz hypothedcally, Executive BrD G -G = bent-A/om ey-Generz-Dol-
  and-a lcould havebeen denied accessto PresidentialRecords ofExecudve Branch-for-
  m er-president-Trum p by ExecutiveBrr G -G nlm bent-president-Biden;and,
          W HEREAS,therefore,the currenthappee gsin the case-at-hand are appeasem ent
  to vitalparts ofthe Govem m entand possiblepolidcalpardesand facdonsthe President

  mustappe% e,PHH Ccrp,839 F.3d at1 & 12-13 (AstheSupreme Courthmsexplained,
  ottrConsdtution ''w asadopted to enable thepeople to govem them selves,tltrough their
  elected leadersw''and theConsdtudon ''requiresthataPresidentchosen by the entireN a-

  don oversee the exem tion ofthelaws.'')(quoting Fre.eE/zferpfseFund v.Pub.Co.Acct.
  OversightBd.,561U.S.477,499(2010))9United Statesv.Arthrex,Inc,N o.19-1434 *23,594
  U .S.      (2021)(Roberts,C.J.,TheConsdtutionallzierarclty reqllires''theexerciseofex-
  ecudvepower(torem ain)accountabletothepeopler);& Dkt.69at18quotingEgan,484
  U.S.at527(unauthorized persons);and,
          W HEREAS,there isrule oflaw ,the Courts m ustprotectthe Execudve Branclwin-
  cum bent-presidentand the Execudve Branclwform er-presidentforaggressions;and,
          W HEREAS,thecurrentactsareaggressionsagninsttheU nited States,found in som e

  W estem Hemisphere's-andSisterCommonLaw jurisdicdons'-governmentalfashionfor
  coupsde tat.

          THEREFORE,theCourtshouldenterjudgementinfavoTofPlaintiff,whoisimmune
  from prosecudon by the Defendant-M r.Gonzalez.
          W I-IERNAG,in addidon toDkts.zl,36,and60,thePolitkalQuesdonDoctrine,tm der
  Blker,
       f7.Carr,369 U.S.186,217 (1962)(a textually demonskable consdtttdonalcom mit-
  mentoftheissueto acoordinatepolidcaldeparM ent);and,
Case 9:22-cv-81294-AMC Document 87 Entered on FLSD Docket 09/13/2022 Page 13 of 17



           W HFREAS,pursuanttothePolidcalQuesdon DockinetheissueLsreserved forthe
  Presidencydirectly,fortheinterestofm aintainingPresidendalAutonom y (i.e.in an ear-
  lierdraftofthe Declaradon oflndependence of1776,Thom asJefferson addressed the
  Grievances agninst the Parliam ent,w lzic.
                                           h he thought caused the dertial of the Olive
  BranchTreatp but,TheKingwmsstillgivingpowertoParliam ent),compareOriginalDrafl
  (''we utterly dissolve allpolidcalcoxmedion wlzich m ay heretoforehave subsksted be-
  tween us and the people or parliam ent ofG reatBritain:and finally w e do assert and
  dedarethesecoloniestobe free and independentstates,and thatasfreeand independent
  states,they havef1111pow erto levyw ar,condudepeace,contractalliances,establish com -

  m erce,and to do allotheradsand thingswitich independentstatesm ay ofrightdo.'')
  withFinalDraftp and,
           W HEREM , Robert Yates, w ho refused to sign the United States Corustitudon

  thoughtthatthejudidarywould beable''tomottld''theroleofthepresidencp6and,
           W HRREAS,''A ttman experienceteachesthatthosewho expec'tpublicdissemina-
  tion oftheir rem arks m ay w elltem per candor w ith a concem for appearances and for

  theirow n intereststo the detrim entofthe decisionmaking process...lalPresidentand
  thosew ho assisthim m ustbe& eeto explorealtem advesintheprocessofshapingpolides


           5.https://teachl
                          'ngamericnnhl
                                      'stou .org/docum ent/rough-drah-of-dze-declarauon-of-M depend-
  ence/.
           6.https:/k- .heritage.org/com ts/report/agaH t-l  '
                                                             udicial-supremaG -ie-fou ders-r d-the-
  limits-the-courts('Iverybodyofm en invested G t.IZoffice/'Yatesobserved,''ax'
                                                                              etenadousofpower.  ''
  M oreover,thksloveofpowerwould''influence''judges''toextend theirpower,andincreasetheirrights,''
  w1t11theresultthatthecotzrtswilltend to''givesuch ameaninytotheCortsututionin allcaseswhereit
  can possibly be done,asw illenlargethesphereoftheirauthontyr...The end resultofallthisw ould be a
  Suprem eCourtV tIZpowerto rule thecountry in them ostim portantm attersaccoTding toitsow n will-
  to notonly exceed itsauthorit.ybutto usurp others'authority.''Thispowen'rYatessaid,''willenable''the
  justicesoffheSupremeCourt''tomouldtheç
                                       w rcmrpcrllintoalmostanyshapefll
                                                                      e.
                                                                       yp/efhqe.''...Yatesfllrfhercon-
  tended thattheSuprem eCourtw ould notonly besuprem eove.rallothercourts,butthatitw ould,in fad,
  bethesuprem epow erin the governm enttobeceated by theConsdtudon.Thissxprcv c' .y,Yatescon-
  tended,wouldfollowfrom fheCourt'spozpcrofsettlingforallojherpoliticaladorsfheautlmritativerrlcflzJhzgof
  19eConstitution.TheSupreme Couxt he obsexvedJ''hasthepow errin thelastresort(todeterminea11ques-
  dortsthatm ay arisein the com seoflegaldiscussloa on them eanlng and constructlon oftheConstitu-
  don.'').
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     and m aking dedsions and to do so in a w ay thatm any w ottld be tm w illing to express
     exceptprivatelp ''N ixon,418U .S.at705 & 708;and,

            W HEREAS,'zliln designingthestructureofourGovernm entand dividing and allo-
     cating thesovereign pow eram ong three co-equalbranches,the Fram ersofthe Consdtu-
     tion soughtto provide a com prehensive system ,buttheseparatepoocrswerenotintended

     tooperatewithabsoluteindependence,''Nixon,433U.S.at442-3 (quoting Youngstown Sheet
     & TubeCo.r.Sawyer,343U.S.579(1952)/and,
            W HEREAS,the A tlom ey Generalm ightbe appropriate ifCongress'interestsw ere

     violatedw1t14thePresidendalRecordsAct,butch 1:.,2U.S.C.jj192& 271-288n,& An-
     derson v.Dunn,19U.S.204 (1821)(only when Congress'interestsareW olated,theSegre-
     ant-at-Armsdoestheenforcem ent;seegenerallyTitle2 oftheUnited StatesCode).
            TSEREFORE,theCoul'tshould enterjudgement,underFed.R.Civ.P.12(b)(2)or
     (b)(6),in favorofPlaintiff,whoisim mune9om prosecudon by theDefendant-o .Gon-
     zalez,and advisethatprosecudon is m ostproper from the incqlm bentPresidenthim qelf

     orhishonor'scolznselor,Le.CounselortothePresident(M r.SteveRicchetd,J.D.),butnot
     theAtlom eyGeneral(TheHon.MerrickGarland,J.D.).C$ W hiteHouseGeneralCoun-
     selor(M r.StuartF.Delerp J.D.).Ih reLindsey,158F.3d at1280-2 (W hiteHouseGeneral
     Counseltmderthecom m and oftheincllm bentPresidentv.DOJ).Federalist78.AIIdoc-
     tlm entsshotlld be retum ed to Plaintiff.

            INTHEALTERNATIVE,thecourtmay dismisstm derFed.R.Civ.P.12*)47).
            IN TlIE ALTERNAH VE,since the D efendant's acts are tm consdtudonaland cannot

     beraM ed to becom e constitudonal,asD efendantom itted theincllm bentPresident-l-lead
     ofStateand -l-lead ofGovernm entagainstthe inmlm bentPresident'sow n OrderforPro-
     tocol,the cottrtm ay dism iss and rule in favor ofPlaindfffor the Defendant's tm clean
     hands.

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          IN THEALTERNATIVE,tlte cottrtm ay issue an Orderto Show Cause to theD efend-

    antfor1aw enforcementjurisdidion.
          ATALLCOSTS,thisCom tshould avoid ceatingaslipperyslopesothattheincum -
    bentPresidentwillbesubjectto arrestby theincllmbentAtlom ey General,who,but,
    serves atthe honor's pleasm e,or create an unconsdtutionalautonom y ofexecudve de-
    pnrfm ents,w hich w illnotbe accotm tableto the People,- or,som eNm es,to theirvarying
    interests- the epitom e ofexecudvetyranny.

          ''(A1pro se (m otionl,how everinartfully pleaded,m ustbe held to lesssfmingent
    standards th> form alpleadingsdrafted by law yers.''Ericlœon v.Pardus,551 U .S.89,94

    (2007).
          Iusem y ConsdtudonalPrivileges,honors,and rightsofknow ing from m y tm der-

    graduateand law school,jttrisdodorcandidacp educations,and politicalofficesand
    from reading1aw outside ofform alschooling forthew riting and discussions,argum ents,

    and m otionsofthesefilings,seeDkt.21at5 & 20and supra,p.16-7(signaturelinel.
          Im ove to reinstatem y M odon forJFP atDkt.l2.




                              RespecG llly subm itted,




                              /s/R jK.Patel
                              T.E.,T.E.RajK.Patel(/rose)
                              6850 East21ststreet
                              Indianapolis,IN 46219
                              M arion Cotm ty
                              317-450-6651(ce11)
                              rajpzolo@gmail.com
                              www.rajpatel.live

                              J.D.Candidate,NokeDam eL.SCIU2015-2017

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  @.




                         President/sm dentBody President,StudentGov'tAss'n of
                            Em ory U.,Inc.2013-2014 (corp.sovereign zol3-present)
                         StudentBody President,Brow nsbttrg Cm ty.Sch.
                            Corp./president,BrownsbttrgHigh Sch.StudentGov't
                            2009-2010(corp.sovereign 2009-present)
                         Rep.from the N otre D am e L.Sch.StudentB.Ass'n to the
                            Ind.St.B.Ass'n 2017
                         D eputy RegionalDirector,Young D em ocratsofA m .-l-ligh
                            Sch.Caucus2008-2009
                         Co-Fotm der& Vice Chaip lnd.l-ligh Sch.D em oc ats2009-
                            2010
                         VicePresidentofFin.tlndep.l,Oxford C.Republicansof
                            Em ory U .,Inc.2011-2012




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Case 9:22-cv-81294-AMC Document 87 Entered on FLSD Docket 09/13/2022 Page 17 of 17



                                CERTITIG TE O F SERW CE

  1certifythatIservedacoqyoftheforegoingRajK.Patel's(ProSe)ReplytoDkt.69on
  09/12/2022tobelow indiw dualsviathee-m ail:
  JamesM .Trusty                                Juan Anlonio Gonzalez
  1FRAH ,PLLC                                   U NITED STATESA U ORN EY
  1717 PennsylvaniaA ve,N W ,Suite650           99 N E 41 Street,81 Floor
  W aslunpon,DC 20006                           M iam i,F133132
  202-852-5669                                  Telephone:(305)961-9001
  jtrustyG frahlaw.com                          juaruantonio.goznzaleztt
                                                                       hlsdojogov
  Lindsey H alllgan                             Jay 1.Bratt,Chief
  511 SE 51 Avenue                              Cotmterintelligence& Ejpol'tConkol
  FortLauderdale,Florida 33301                  Sedion N at'lSecurity Dm
  720-435-2870                                  950 PennsylvaniaA venue,N W
  lindseyhalligan@outlook com                   W asbington,D .C.20530
                                                (202)233-0986
  M .Evan C orcoran                             jayo
                                                   brattze sdoj.gov
  Silverm an,Thom pson,Slutkin,& W hite,
  LLC                                           PresidentJoeBiden
  400 EastPrattSkeet,Suite 900                  c/oM arinaM .Kozmycz,AssodateGen.
  Ballim ore,M D 21230                                Counsel
  410-385-7775                                  The E.O .P.attheW hiteH ouse
  eCOCCOrM @Si1Ve= M Z Om PS0n.COm              1600 PennsylvaniaAvenue N W
                                                W ashington,D .C.20500
                                                Phone:202-457-1414
                                                IREDACTEDI




  D ated:Septem ber 12,2022

                                   Res ecfhllly s    'tted,



                                    s/Ra- atel
                                   T.E.,T.E.RajK.PatellProSe)
                                   6850 East21stSkeet
                                   Indianapolis,IN 46219
                                   M arion Cotm ty
                                   317-450-6651(cell)
                                   rajpzolo@gmail.com
                                   www.rajpatel.live

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